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April 22, 2025

Chief Judge Sul Ozerden
Judge Daniel P. Jordan
Judge Leslie Southwick
Thad Cochran United States Courthouse
501 E. Court Street
Jackson, MS 39201

Via ECF


        Re: Mississippi State Conference of the NAACP v. State Board of Election
        Commissioners, No. 22-734

Dear Chief Judge Ozerden and Judges Jordan and Southwick:

       In its April 15, 2025 Findings of Fact and Conclusions of Law, the Court
sustained Plaintiffs’ objections as to the Senate Plan in the DeSoto County area,
provided the State Defendants with seven days to submit alternative plans for
consideration, and requested that the parties docket letter briefs regarding “the
relevance of traditional redistricting principles when imposing a remedy for a Section
2 violation” to aid the Court in “making a final decision about proper districts for this
area.” ECF No. 254 at 17.

       Plaintiffs now submit this letter brief on the issue, while reserving all rights
to respond separately to any alternative plans offered by the State Defendants. See
Text-Only Dkt. Order of April 17, 2025 (setting April 29, 2025 deadline for any such
responses).

   I.      Relevant and Permissible Considerations for a Court-Ordered Remedial
           Plan

    As this Court has held, its “‘first and foremost obligation’” at this stage “must be
‘to correct the Section 2 violation.’” Miss. N.A.A.C.P. v. State Bd. of Election Comm’rs,
739 F. Supp. 3d 383, 464 (S.D. Miss. 2024) (quoting United States v. Brown, 561 F.3d
420, 435 (5th Cir. 2009)). That means adopting a remedial plan that contains an
additional opportunity district for Black voters in the DeSoto County area. E.g.,
Findings of Fact and Conclusions of Law, ECF No. 254 at 3-6, 11. Moreover, when it
comes to electoral performance, while Section 2 does not entitle Black voters to a
“guarantee” of success in a remedial minority opportunity district, id. at 3-4 (citing
LULAC v. Perry, 548 U.S. 399, 428 (2006)), it also does not set any inherent cap on
the strength of the majority-minority districts that may be included in court-adopted
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remedial plans. Thus, to remedy Section 2 violations, courts in practice can and do
adopt remedial districts in which Black voters are highly likely to prevail. E.g.,
Singleton v. Allen, No. 2:21-CV-1291, 2023 WL 6567895, at *16 (N.D. Ala. Oct. 5,
2023) (adopting remedial plan where performance analysis showed Black-preferred
candidate had carried 16 of 17 recent statewide contests).

   Correcting the Section 2 violation—that is, ensuring the addition of an
opportunity district where Black voters will be able to usually elect candidates of
choice in light of the political circumstances in the area at issue—thus takes
precedence over the so-called traditional districting principles. See, e.g., Georgia
State Conf. of NAACP v. Fayette Cnty. Bd. of Comm'rs, 996 F. Supp. 2d 1353, 1358–
59 (N.D. Ga. 2014) (“[A] [c]ourt-created plan should follow the traditional
redistricting principles, though these principles have less precedence than ‘the
requirements of the Constitution and Voting Rights Act.’” (quoting Larios v. Cox, 314
F.Supp.2d 1357, 1360 (N.D.Ga.2004) (three-judge court)); see also, e.g., Singleton v.
Allen, 690 F. Supp. 3d 1226, 1302 (N.D. Ala. 2023) (three-judge panel) (“The State
cannot avoid the mandate of Section Two by improving its map on metrics other than
compliance with Section Two.” (emphasis in original)).

    Beyond the paramount requirement of completely remedying vote dilution, a
court-ordered remedial plan should generally follow the “policy judgments” identified
by the Legislature to the extent that this can be done consistent with the Constitution
and the Voting Rights Act. Perry v. Perez, 565 U.S. 388, 393 (2012) (per curiam);
accord Upham v. Seamon, 456 U.S. 37, 40-41 (1982) (per curiam); Singleton, 2023 WL
6567895, at *12; Georgia State Conf. of NAACP, 996 F. Supp. 2d at 1358–59.
“‘[F]aced with the necessity of drawing district lines by judicial order, a court, as a
general rule, should be guided by the legislative policies underlying’ a state plan—
even one that was itself unenforceable—‘to the extent those policies do not lead to
violations of the Constitution or the Voting Rights Act.’” Perry, 565 U.S. at 393
(quoting Abrams v. Johnson, 521 U.S. 74, 79 (1997)).

    Those goals may include the prioritization of particular traditional districting
principles identified as important by the Legislature. E.g., Singleton, 2023 WL
6567895, at *14 (“We next limit our analysis to the proposed plans that satisfy the
Legislature’s limit of six county splits. We do not find that we are required to defer to
that cap, but we can completely remedy the vote dilution we found without exceeding
it, … so we will not exceed it.”). They may also involve the goal of minimizing changes
to the existing plan. E.g., id. at *13 (“Although the Legislature had the discretion to
redraw every district in the state when it enacted the 2023 Plan, we do not have the
discretion to redraw every district now. We limit our changes to districts that were
challenged and found unlawful, and to those changes to adjacent districts that are
necessary to satisfy applicable constitutional and statutory requirements.”).




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   However, those goals cannot properly include nakedly political aims, such as the
protection of favored incumbents, which are not expressible in terms of objective
districting principles. “A court-ordered plan is subject to a more stringent standard
than is a legislative plan. Many factors, such as the protection of incumbents, that
are appropriate in the legislative development of an apportionment plan have no
place in a plan formulated by the courts.” Wyche v. Madison Par. Police Jury, 769
F.2d 265, 268 (5th Cir. 1985) (citation omitted); see also, e.g., Georgia State Conf. of
NAACP, 996 F. Supp. 2d at 1363 (explaining that incumbency protection is “a
distinctly subordinate consideration” in a court-ordered plan) (quoting Larios, 314
F.Supp.2d at 1360).

   Courts in the Section 2 remedial context thus can and should consider traditional
districting principles, but only (1) once satisfied that the plan remedies the Section 2
violation and (2) while adhering to the overall priorities identified by the Legislature.

    There is one other way in which traditional districting principles theoretically
might come into play. There is no constitutional prohibition on considering race in
the districting process, or in drawing majority-minority districts in order to ensure
compliance with the Voting Rights Act. E.g., Bush v. Vera, 517 U.S. 952, 958 (1996)
(plurality op.); Shaw v. Hunt, 517 U.S. 899, 904–05 (1996). But, if a districting plan
“subordinate[s] traditional race-neutral districting principles, including but not
limited to compactness, contiguity, and respect for political subdivisions or
communities defined by actual shared interests, to racial considerations,” it must
survive strict scrutiny. E.g., Miller v. Johnson, 515 U.S. 900, 916, 920 (1995). Courts,
including the Supreme Court, have long presumed that remedying a Section 2
violation is a compelling interest sufficient to meet the strict scrutiny standard. E.g.,
Shaw, 517 U.S. at 915; accord Alabama Legislative Black Caucus v. Alabama, 575
U.S. 254, 279 (2015). But to be sufficiently tailored in those circumstances, a “district
drawn in order to satisfy § 2 must not subordinate traditional districting principles
to race substantially more than is ‘reasonably necessary’ to avoid § 2 liability.” Bush,
517 U.S. at 979 (citation omitted); accord Abrams v. Johnson, 521 U.S. 74, 83-86
(1997); see also, e.g., Georgia State Conf. of NAACP, 996 F. Supp. 2d at 1365-1366.

   Plans that fall outside this outer boundary, as in Bush, Miller, and Shaw v. Reno,
typically involve majority-minority districts that stretch between disparate
communities to pick up voters solely on the grounds of race, resulting in lines that
are “bizarrely shaped” in the extreme. Bush, 517 U.S. at 960-964; Miller, 515 U.S. at
908-908; Shaw v. Reno, 509 U.S. 630, 635-636; cf. Allen v. Milligan, 599 U.S. 1, 27-29
(2023) (discussing these cases in describing how the requirement to draw reasonably
configured illustrative districts makes proving Section 2 liability “more difficult”).

    As explained at oral argument, Plaintiffs do not think that the Legislature’s plan,
let alone any of Plaintiffs’ alternative plans, comes close to this constitutional
boundary. April 8 Hrg. Tr. at 31:11-17, ECF No. 255. Cf. Perry, 565 U.S. at 394



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(claimed “legal defects in the state plan” should be shown to be supported at least by
“a likelihood of success on the merits”). Indeed, as explained below, infra Part II,
Plaintiffs’ alternative plans in particular fully comport with traditional districting
principles while also remedying vote dilution. See also Pls.’ Objections, ECF No. 243
at 24-27. But Plaintiffs acknowledge that issues relating to this constitutional line
in the Section 2 remedial context are presently before the U.S. Supreme Court—albeit
in a case involving a legislatively-enacted, rather than judicially-drawn, remedial
plan. See Callais v. Landry, 732 F. Supp. 3d 574, 610-614 (W.D. La. 2024) (three-
judge court) (concluding Louisiana Legislature’s addition of Black-majority
congressional district to remedy likely Section 2 violation was unconstitutional
because newly-drawn majority-minority district “d[id] not comply with traditional
districting principles”), on appeal, Louisiana v. Callais, No. 24-109 (U.S., argued Mar.
24).

    Especially in light of the pending appeal in Callais, Plaintiffs submit that, in
choosing from among those plans that meet the required criteria of (1) completely
remedying the Section 2 violation and (2) adhering to the overall priorities identified
by the Legislature, the Court can permissibly opt in favor of the plan or plans that
most clearly comport with traditional districting principles, and against plans that
neglect those principles. This approach is broadly consistent with that adopted by
other courts in Section 2 remedial cases, such as the three-judge panel in the Alabama
congressional case, and Chief Judge Batten in a Northern District of Georgia case
from the last Census cycle. See, e.g., Singleton, 2023 WL 6567895, at *14-*16
(analyzing those plans with sufficiently effective districts for similarity with the
legislative plan in terms of traditional districting principles and then selecting a plan
that “completely remedies the vote dilution we found and satisfies all applicable
federal constitutional and statutory requirements while most closely approximating
the policy choices the Alabama Legislature made in the 2023 Plan”); Georgia State
Conf. of NAACP, 996 F. Supp. 2d at 1370 (explaining that the court’s remedial plan
largely “avoids upsetting [the defendant county’s] policy preferences through the use
of the traditional redistricting principles outlined above”).

   II.    Applying these Considerations to Plaintiffs’ Alternative Plans

   Based on the principles set forth above, both of Plaintiffs’ alternative plans are
permissible options for the Court to select. See Pls.’ Objections, ECF No. 243 at 24-
27; Cooper Report, Ex. I to Pls.’ Partial Objections (“Cooper Remedial Report”), ECF
No. 243-9 at 10-17. Between the two, Plaintiffs’ Senate Plan A is likely the best
overall choice from a traditional districting principles perspective.

   To start, there is no dispute that both of Plaintiffs’ alternative Senate Plans add
an effective Black-majority district in the DeSoto County area, as both Dr. Handley
and Dr. Alford concluded. Handley Report, Ex. J to Pls.’ Partial Objections, ECF No.
243-10 at 4-7; Alford Report, Ex. A to Defendants’ Resp., ECF No. 249-1 at 10;



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Handley Resp. Report, Ex. A to Pls.’ Reply Br., ECF No. 252-1 at 4. Accordingly, both
of Plaintiffs’ alternative Senate plans satisfy the most important requirement: They
completely remedy the unlawful vote dilution proven at trial. E.g., Miss. N.A.A.C.P.,
739 F. Supp. 3d at 464. 1

   Moreover, both plans adhere to the key goals identified by the Legislature. The
Legislature’s goals, as identified in 2022 at the commencement of this redistricting
cycle, are that:

      (1) Each district's population should be less than 5 [percent] above or
          below the ideal population of the district.

      (2) Districts should be composed of contiguous territory.

      (3) The redistricting plan should comply with all applicable state and
          federal laws including Section 2 of the Voting Rights Act of 1965, as
          amended, and the Mississippi and United States Constitutions.

Miss. N.A.A.C.P., 739 F. Supp. 3d at 402. Such “applicable state laws” in turn include
Section 5-3-101 of the Mississippi Code, which provides that:

      (a) Every district shall be compact and composed of contiguous territory
          and the boundary shall cross governmental or political boundaries
          the least number of times possible; and

      (b) Districts shall be structured, as far as possible and within
          constitutional standards, along county lines; if county lines are
          fractured, then election district lines shall be followed as nearly as
          possible.

Miss. N.A.A.C.P., 739 F. Supp. 3d at 401 (quoting Miss. Code Ann. § 5-03-01).

       The Legislature’s stated goals for redistricting this Census cycle thus
incorporate many of the traditional districting principles, such as equal population,
compactness, contiguity, minimizing county and precinct splits, and avoiding the
fracturing of communities encompassed within official “governmental or political
boundaries.”



1 Notably, the BVAP of Delta-based Senate District 1 in Plaintiffs’ plans is similar

to (indeed, lower than) the 58% BVAP Senate District 22 that was drawn by the
Legislature as a remedy for vote dilution in the South Delta in the Thomas case
from the last Census cycle. See Pl.’s Notice, Thomas v. Reeves, No. 18 Civ. 441,
ECF No. 99 (April 4, 2019).

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       Beyond these goals, the Legislature identified additional priorities in
redrawing the lines around DeSoto County in the 2025 Legislative Senate Plan. For
one, the Senate prioritized minimizing the number of changed districts, so that fewer
incumbents would be required to run for special elections. See Mississippi Senate
Webcast Recording for February 26, 2025 (“Feb. 26 Senate Floor Video”), Ex. C to Pls.’
Objections, ECF No. 243-3, at 4:31:12-4:32:35. Accordingly, it changed only five
districts in the area: Districts 1, 2, 10, 11, and 19. The Senate also prioritized
creating a new Black-majority District 11 with no incumbent, which it believed it was
required to do. See Feb. 26 Senate Floor Video at 4:24:58 - 4:26:03 (Sen. Kirby) (“[W]e
did exactly what the court asked us to do: To create a new, in the North and South,
with a newly minority-majority minority district with no incumbent.”).

      As set forth in Plaintiffs’ Partial Objections and in Mr. Cooper’s reports
analyzing the plans and providing detailed plan metrics, including reports on county,
precinct, and municipal splits as well as numerical compactness, both of Plaintiffs’
alternate plans adhere to all of these goals.

   Specifically, and using the 2025 Legislative Senate Plan as a benchmark and an
indicator of the Legislature’s judgments and priorities:

   •   Both plans change only six districts—the same five that are changed in the
       2025 Legislative Senate Plan, plus District 12 in the Delta. See Cooper
       Remedial Report at 4-6. Senator Derrick Simmons, the incumbent in District
       12, has indicated that he would support the adoption of Plaintiffs’ alternative
       plans even if it means running again in 2025. See Declaration of Senator
       Derrick T. Simmons, Ex. L to Pls.’ Objections, ECF No. 243-12 at ¶ 6. These
       districts are generally located in the same areas as in the 2025 Legislative
       Senate Plan and involve the same group of counties in the same area of the
       State. See Cooper Remedial Report at 11-12 (Senate Plan A), 15-16 (Senate
       Plan B).

   •   Both plans leave Senate District 11 open. Plaintiffs’ Senate Plan A leaves
       Black-majority District 11 open, and pairs Senator McLendon with Senator
       Blackwell, also of DeSoto County, in District 2. See Cooper Remedial Report at
       11-12. And Plaintiffs’ Senate Plan B also leaves SD 11 open, while pairing
       Senator McLendon with Senator Jackson (i.e., the same two Senators paired
       under the 2025 Legislative Senate Plan). See Cooper Remedial Report at 14-
       15.

   •   Both plans are composed entirely of contiguous territory. Miss. N.A.A.C.P.,
       739 F. Supp. 3d at 402.

   •   Both plans meet the five percent deviation threshold. Miss. N.A.A.C.P., 739 F.
       Supp. 3d at 401; see Cooper Remedial Report at 12 (Senate Plan A), 16 (Senate
       Plan B). Indeed, Senate Plan A in particular is better than the 2025


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       Legislative Senate Plan on this metric. The 2025 Legislative Senate Plan had
       multiple districts (Districts 1 and 11) that were at the very edge of the outer
       boundary for equal population (4.97% and 49.6%, respectively) and another
       district (District 19) with a 4.5% deviation. See Cooper Remedial Report at 9.
       By contrast, Plaintiffs’ Senate Plan A keeps all of the altered districts within
       4% deviation or less. Id. at 12.

   •   Both plans meet or beat the 2025 Legislative Plan with respect to geometric
       district compactness as measured by the Reock and Polsby-Popper scores. See
       Miss. Code Ann. § 5-03-01; Cooper Remedial Report at 13-14 (Senate Plan A),
       16-17 (Senate Plan B).

   •   Both plans meet or beat the 2025 Legislative Plan with respect to splits of
       counties and the crossing of other “governmental or political boundaries” like
       city lines and precincts. Miss. Code Ann. § 5-03-01; Cooper Remedial Report
       at 13-14 (Senate Plan A), 16-17 (Senate Plan B). Indeed, both plans split the
       same number of counties (8) while splitting fewer municipalities (21 or 22 in
       Plaintiffs’ Plans versus 26 in the 2025 Legislative Senate Plan) and
       dramatically fewer precincts (11 or 13 in Plaintiffs’ Plans versus 32 in the 2025
       Legislative Senate Plan). See Cooper Remedial Report at 13-14 (Senate Plan
       A), 16-17 (Senate Plan B).

  Accordingly, either plan is a permissible remedy for vote dilution in the DeSoto
County area.

    As between the two, there is at least one reason to select Plaintiffs’ Senate Plan
A: The treatment of DeSoto County as a community of interest. In its amicus brief,
DeSoto County assailed the 2025 Legislative Senate Plan for combining the City of
Hernando, DeSoto County’s seat, “with several smaller towns throughout the heart
of the Mississippi Delta that are more than 40 miles away, including Clarksdale,
Marks, and Jonestown.” DeSoto Cnty. Amicus Br., ECF No. 251, at 5; see also
Findings of Fact and Conclusions of Law, ECF No. 254 at 8 (“[T]he new SD 11 yokes
high-turnout white communities in the Hernando area of DeSoto County to several
poorer, predominantly black towns in the Mississippi Delta.”). This configuration
may have been adopted to facilitate the pairing of Senator McClendon in Hernando
with Senator Jackson in Marks.

   Plaintiffs’ Senate Plan A takes a slightly different approach, using the southern
border of DeSoto County to mark the line between District 1 and District 2. Cooper
Remedial Report at 11. As Mr. Cooper explains:

       Like the 2025 Senate Plan, Plaintiffs Senate Plan A pairs two
       incumbents. But it does so with a different pairing of incumbents,
       allowing for overall more compact districts in the modified 6-district part
       of the map. Plaintiffs’ Senate Plan A would pair incumbent Senator


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      McClendon with Senator Kevin Blackwell, also of DeSoto County, in a
      reconfigured Senate District 2. This configuration also allows for the
      creation of three Senate districts that are strongly based in DeSoto
      County: Two districts (SDs 2 and 19) that are majority-White and that
      are entirely within DeSoto County, and one (SD 11) that is majority-
      Black and that is 92.24% from DeSoto County by total population—
      while at the same time maintaining the North-Delta-based character of
      the Black-majority district to the south (SD 1). These are potentially
      significant communities-of-interest considerations.

Cooper Remedial Report at 11-12.

       Accordingly, while either of Plaintiffs’ alternative Senate plans can be adopted
as a permissible court-ordered remedy for vote dilution, Plaintiffs’ Senate Plan A
addresses the specific communities-of-interest concern raised by DeSoto County. 2 It
also splits two fewer election districts and one fewer municipality than Senate Plan
B (and many fewer than the benchmark 2025 Legislative Plan), Cooper Remedial
Report at 13, 16. See Miss. Code Ann. § 5-03-01.

   III.   Conclusion

   The Court should adopt Plaintiffs Senate Plan A in order to ensure a remedial
plan that fully remedies vote dilution, adheres to the policy judgments of the
Legislature, and comports with traditional districting principles to the fullest extent,
including by addressing the specific issue raised by amicus DeSoto County.

Respectfully submitted,

                                               /s/ Ari J. Savitzky
 Joshua Tom, MSB 105392                        Ari J. Savitzky
 jtom@aclu-ms.org                              asavitzky@aclu.org
 ACLU OF MISSISSIPPI                           Ming Cheung
 101 South Congress Street                     mcheung@aclu.org
 Jackson, MS 39201                             125 Broad Street, 18th Floor
 (601) 354-3408                                New York, New York 10004
                                               (212) 549-2500
 Robert B. McDuff, MSB 2532
 rbm@mcdufflaw.com                             Jennifer Nwachukwu
 MISSISSIPPI CENTER FOR JUSTICE                jnwachukwu@lawyerscommittee.org


2 To the extent that pairing two specific incumbents was a legislative priority that

the Court seeks to adhere to, Plaintiffs’ Senate Plan B also adheres to that priority.
However, such political concerns are of little if any significance in a court-ordered
plan. See Wyche, 769 F.2d at 268; see also, e.g., Larios, 314 F.Supp.2d at 1360.

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767 North Congress Street                    David Rollins-Boyd
Jackson, MS 39202                            drollins-boyd@lawyerscommittee.org
(601) 969-0802                               Javon Davis
                                             jdavis@lawyerscommittee.org
Carroll Rhodes, MSB 5314                     LAWYERS’ COMMITTEE FOR CIVIL
LAW OFFICES OF CARROLL RHODES                RIGHTS UNDER LAW
crhodes6@bellsouth.net                       1500 K Street NW Suite 900
PO Box 588                                   Washington, DC 20005
Hazlehurst, MS 39083                         (202) 662-8600
(601) 894-1464

John P. Lavelle, Jr.                         Drew Cleary Jordan
MORGAN, LEWIS & BOCKIUS LLP                  MORGAN, LEWIS & BOCKIUS LLP
2222 Market Street                           1111 Pennsylvania Ave. NW
Philadelphia, PA 19103-3007                  Washington, DC 20004-2541
Telephone:     +1.215.963.5000               Telephone:    +1.202.739.3000
Facsimile:     +1.215.963.5001               Facsimile:    +1.202.739.3001
john.lavelle@morganlewis.com                 drew.jordan@morganlewis.com


                                   Attorneys for Plaintiffs




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                            CERTIFICATE OF SERVICE

       I, Ari Savitzky, do certify that on this day I caused to be served a true and
correct copy of the foregoing by electronic mail to all counsel of record.

      This the 22nd day of 2025.

                                                       /s/ Ari J. Savitzky
                                                       Ari J. Savitzky
